Case 1:17-mc-00151-LPS Document 244 Filed 02/16/21 Page 1 of 7 PageID #: 7130




 Travis S. Hunter
 302-651-7564
 hunter@rlf.com


VIA ELECTRONIC FILING

The Honorable Leonard P. Stark
U.S. District Court for the
 District of Delaware
844 North King Street
Wilmington, Delaware 19801

         Re: Crystallex International Corp. v. Bolivarian Republic of Venezuela,
             No. 17-151-LPS (the “Crystallex Asset Proceeding”)

Dear Chief Judge Stark:

I write on behalf of the parties in the Crystallex Asset Proceeding, in response to the Court’s
January 29, 2021 Order adopting the parties’ proposal to exchange names of potential special
master candidates and, if no agreement could be reached as to a single candidate, file with this
Court a joint submission setting forth the list of candidates from which the parties and
ConocoPhillips propose the Court select the special master.

As directed by the Court, the parties and ConocoPhillips exchanged their respective lists of
potential candidates on February 4, 2021. Following multiple meet and confer sessions as well as
separate conversations with several of the proposed special masters, the parties and ConocoPhillips
were unable to reach agreement on a single candidate. They have, however, agreed to limit the
number of candidates put forward to this Court to one nominee from Crystallex, Judge Sue L.
Robinson (ret.), and two nominees jointly from the Republic of Venezuela, PDVSA, PDVH,
CITGO, and ConocoPhillips, Robert Pincus and David Schulte. All three candidates report that
they are free from conflicts.

Crystallex’s Position:

As Crystallex understands the Court’s January 14, 2021 Order, the proposed special master is to
oversee the judicial sale of shares of PDVH. As that Order recognized, the Court and its selected
special master may implement additional measures to increase notice and available information to
help facilitate a sale of the shares of PDVH, but the sale still must comport with the provisions of
the Delaware code applicable to execution sales, including 8 Del. C. § 324. Based on her decades
on the bench, Judge Robinson is well acquainted with Delaware state law and how to apply it to
complex situations. Judge Robinson has indicated that she will seek guidance from the parties and
their respective counsel and financial advisors to reach a recommendation on how to implement a
sale of shares of PDVH to satisfy the approximately $1 billion remaining on Crystallex’s judgment
in accordance with Delaware law and the Court’s prior guidance on possible sale procedures.
While some agreements may be possible as to certain issues concerning the structure and design
of the process, in light of Venezuela’s demonstrated disinterest to date in satisfying Crystallex’s
Case 1:17-mc-00151-LPS Document 244 Filed 02/16/21 Page 2 of 7 PageID #: 7131

The Honorable Leonard P. Stark
February 16, 2021
Page 2



judgment and long-standing patterns of delay, it seems inevitable that disputes as to how best to
proceed will continue to arise until the sale is finally completed, the transaction has closed and all
appeals are exhausted. As a seasoned former judge, Judge Robinson is well prepared to evaluate
the parties’ competing positions to reach decisions that identify the appropriate number of shares
that need to be sold to satisfy Crystallex’s judgment in accordance with Delaware’s statutory
requirements. And, as would seem obvious, Judge Robinson will present her decisions to this
Court for approval as necessary and appropriate, knowing full well that any decision or
recommendation made to this Court will likely be presented to the Third Circuit for review.

Due to the undeniably contentious nature of this matter, Crystallex believes that the appropriate
special master should be a proven decision-maker. By working with the parties and leveraging the
expertise of their existing advisors, rather than seeking to appoint a whole new set of advisors,
including bankers and lawyers, to design a sale process on her own from scratch, Judge Robinson
will be able to move the sale process ahead efficiently. Working with the parties and their existing
advisors, rather than retaining a raft of additional professionals, will also serve to keep special
master fees reasonable. Judge Robinson’s proposed hourly rate of $1,025 is certainly appropriate
given her tenure on the bench and experience as a neutral. As previously noted, Crystallex remains
prepared to advance up to $1 million of fees and expenses of Judge Robinson. Judge Robinson
has also confirmed that she has time for this mandate and is prepared to refuse other opportunities
if appointed Special Master in this case to ensure that it deserves the requisite attention.

Crystallex availed itself of the opportunity it was given to interview Messrs. Pincus and Schulte at
some length by Zoom videoconference. Although it cannot be disputed that Messrs. Pincus and
Schulte are both knowledgeable and experienced in mergers and acquisitions and sales of
distressed assets in other contexts, they both seem to envision a process more akin to a traditional
M&A sale between a willing buyer and a willing seller, with the appointment of bankers and other
expensive advisors to assist the special master in devising a sales process, including identifying
potential purchasers and negotiating terms, and which could require heavy involvement of
company management. Crystallex does not believe that such a consensual process will prove
effective—or is likely even possible—in an environment where every step towards the sale of
shares of PDVH has been opposed and every decision of this Court is appealed. Instead, as this
Court recognized in its latest order, Venezuela is a “highly-recalcitrant judgment debtor” who has
bypassed “every opportunity to pay its legitimate, Court-recognized debt to Crystallex” (DI 234 at
37) and has made an involuntary execution sale necessary. The selection of a Special Master to
facilitate that sale should not be occasion for a consensual sales process that the Court has already
rejected. Id.

Moreover, the expansive role of the special master and their advisors under either of these
approaches would come with significant expense, far beyond the hourly rate of Judge Robinson.
Indeed, both Mr. Pincus and Mr. Schulte expected that the total cost would be several million
dollars—amounts that increase the odds of disputes over the reasonableness of the special master’s
fees. Other than vague assertions that Venezuela or its subsidiaries may contribute some funds to
the process, it is unclear how Venezuela or ConocoPhillips propose to pay for the increased
Case 1:17-mc-00151-LPS Document 244 Filed 02/16/21 Page 3 of 7 PageID #: 7132

The Honorable Leonard P. Stark
February 16, 2021
Page 3



expenses of their proposals as compared to the more traditional special master role envisioned by
Crystallex and Judge Robinson. It certainly would be improper to burden Crystallex with costs
associated with running a process beyond that reasonably required for a judicial sale for its benefit
as a judgement creditor and secured lien holder.

Because Crystallex believes that, as a special master, Judge Robinson would oversee the sale
process most aligned with the Court’s January 14, 2021 Order and do so while charging the most
reasonable fees, it respectfully requests this Court appoint Judge Robinson as special master. A
copy of Judge Robinson’s resume is attached as Exhibit A. Crystallex has no objection to the
Court interviewing any of the special master candidates (with or without Counsel, as the Court
may deem advisable) if the Court deems such interviews appropriate.

Joint Position of the Republic, PDVSA, PDVH, CITGO, and ConocoPhillips

On January 14, 2021, this Court ordered that certain prefatory procedures for the eventual sale of
the shares of PDVH may begin and ordered the retention of a special master to “oversee the day-
to-day and detailed implementation of the sales procedures.” Crystallex Int’l Corp. v. Bolivarian
Republic of Venezuela, No. CV 17-MC-151-LPS, 2021 WL 129803, at *17 (D. Del. Jan. 14, 2021).
The Court expressed its intent to “appoint a special master, who will have the time and expertise
to fulfill the Court’s and the U.S. Marshal’s duties to prepare for and conduct the sale.” Id.
(emphasis added). The Court made clear that the goal is to “maximize the sales price obtained,”
id. at *18, and a sale that maximizes the value of the PDVH shares will require all the hallmarks
of a large, commercial transaction or M&A deal.

Crystallex’s implicit view that all that will be required of the special master is to supervise an
immediate auction of shares until enough is raised to pay its claim is inconsistent with the Court’s
ruling. As the Court stated, although “Crystallex’s incentives, as creditor, may extend only so far
as to ensure that the result of the sales process is sufficient to recover what it is owed, and not
necessarily to maximize the value of the PDVH shares to be sold, the whole point of the public,
noticed, full and fair competitive sales process required under Delaware law is to maximize the
sales price obtained, regardless of the creditor’s incentive.” Id. at *18 (emphasis added). And, to
that end, the Court contemplated that “the parties will have an opportunity to provide additional
input with respect to the details of the sales procedure.” Id. at *2. Presumably, the special master’s
first charge will be to work on developing a full and fair competitive sales process, with input from
each of the parties and non-parties who have appeared in this action, as well as and from the special
master’s own advisors.

Accordingly, any special master chosen to develop and ultimately conduct a future contingent
auction of a likely minority-stake of the privately held PDVH shares should bring a wealth of
experience in large-scale corporate transactions. The special master selected should be able to
supplement the Court’s judicial oversight with specific expertise about how to efficiently and fairly
develop a structure to sell the shares, using “detailed implementation of [] sales procedures,” id. at
*17, that will maximize the value of the shares and sell only “[s]o many of the shares . . . as shall
Case 1:17-mc-00151-LPS Document 244 Filed 02/16/21 Page 4 of 7 PageID #: 7133

The Honorable Leonard P. Stark
February 16, 2021
Page 4



be sufficient to satisfy the debt,” 8 Del. C. § 324(a). As the Court knows, this is not a normal sale
of collateral, such as materials or inventory, but instead is the sale of shares of the holding company
of a large, complex operating company, so any special master selected should have significant
experience in sales of similar types of companies. Deep expertise in large corporate transactions
is especially important in the environment posed by this contingent sale, where the uncertainty
caused by the absence of an OFAC license (and the uncertainty, based on OFAC FAQs, about
what, if any, prefatory steps are even permissible without such a license) will likely affect bidders’
incentives and behavior.

The Republic, PDVSA, PDVH, and CITGO initially proposed Robert Pincus and two other
candidates. ConocoPhillips initially proposed David Schulte and one other candidate. After
meeting and conferring and interviewing each other’s lead candidates (as well as Crystallex’s
proposed candidate), the Republic, PDVSA, PDVH, CITGO, and ConocoPhillips have agreed that
both Mr. Pincus and Mr. Schulte possess the experience needed in this situation and thus are
uniquely suited to the present task. We respectfully urge the Court to speak with each of them
over a Zoom videoconference.

                                           David Schulte

David Schulte is uniquely qualified for the role of special master in this case. Mr. Schulte has
impressive academic credentials – he graduated summa cum laude from Williams College,
followed by a year at Exeter College, Oxford where he pursued a D.Phil. He then attended the
Yale Law School, where he was Editor-in-Chief of the Yale Law Journal. After graduation, Mr.
Schulte clerked for Justice Potter Stewart on the Supreme Court. Mr. Schulte was admitted to the
Bar of the District of Columbia in 1973, where he remains a member in good standing, although
he does not actively practice law.

After completing his clerkship, Mr. Schulte joined Northwest Industries, a diversified holding
company, where he was responsible for long range planning, acquisitions and the turnaround of
several operations. He next joined Salomon Brothers, where he served in various positions,
culminating in his role as head of the Corporate Reorganization Group.

In 1984, Mr. Schulte founded Chilmark Partners, a boutique financial advisory firm that
specializes in corporate restructurings and distressed situations. Mr. Schulte has assisted
thousands of companies, banks, bondholders, and investors through all aspects of the financial
restructuring process, including debt and equity financings, mergers and acquisitions, asset
divestitures, and creditor negotiations. A few of his advisory assignments have included Chrysler
Corporation, International Harvester and USG Corporation. Mr. Schulte has also served as an
expert witness and as an independent director in distressed situations. He has had experience in
the energy industry, including serving on the board of directors of Santa Fe Energy Resources,
Inc., and advisory roles in distressed situations including Clark Oil and Refining, Gulfport Energy
Corporation, and Apex Oil Company.
Case 1:17-mc-00151-LPS Document 244 Filed 02/16/21 Page 5 of 7 PageID #: 7134

The Honorable Leonard P. Stark
February 16, 2021
Page 5



In brief, Mr. Schulte has sat in every seat at the table—owner, director, investor, advisor and
investment banker. He has been seller and also buyer, and he has invested billions of dollars on
behalf of investors in businesses he controlled. Along the way, he has initiated several procedures
now taken as common in the bankruptcy world, including offering a choice of outcomes to
creditors (such as equity vs. cash) as well as the use of rights offerings and stand-by purchasers in
plans of reorganization. He presided over a $1.8 billion rights offering, then the largest ever, in
the USG chapter 11 case. He has repeatedly invented his way around obstacles.

In addition to Mr. Schulte, Chilmark Partners has six professionals who have varied backgrounds
and more than 60 years of experience in finance, investment banking, executive and operations
management, business consulting, and accounting. Mr. Schulte would call upon those
professionals for assistance if necessary, but would be personally responsible for all aspects of this
engagement.

Mr. Schulte is uniquely qualified to devise value-maximizing approaches to the task at hand, and
to negotiate the complicated interrelationships between Venezuela, PDVSA, PDVH, CITGO and
their associated creditors and debt structure, the interests of the United States and the many other
foreign relations and foreign policy issues, and the numerous judgment creditors with an interest
in, or who will seeking an interest in, the proceeds of any sale. While many investment
professionals are capable of selling a company, Mr. Schulte is capable of thinking outside the box
and devising a transaction structure that may best address the highly unusual circumstances of this
case.

Mr. Schulte would propose to be compensated on an hourly basis for his services at this stage of
the proceeding. His current rate is $1,195 per hour. The hourly rates of Chilmark’s other
professionals range between $425 and $1,050 per hour. His resume is attached as Exhibit B to this
letter.

                                           Robert Pincus

Robert Pincus, a well-respected member of the Delaware bar, is also uniquely qualified and has
the expertise necessary to serve as special master in overseeing a value-maximizing sale of shares
of a large, complex privately held company. Mr. Pincus is well-versed in large, commercial
transactions that involve complicated corporate structures and financing, and has directly relevant
experience crafting and running multi-million dollar corporate auctions, serving as a court-
appointed officer, and working with the petroleum industry. During his thirty-five years as an
M&A lawyer—thirty of which were spent as a partner at Skadden, Arps, Slate, Meagher & Flom
LLP—Mr. Pincus represented numerous companies in a variety of industries, and completed
hundreds of deals, including many with a value in excess of a billion dollars. As part of working
on large-scale transactions, he routinely worked with senior management and reported to boards
of directors. Throughout his career, Mr. Pincus has counseled clients on mergers and acquisitions,
private equity investment, and Delaware-law aspects of transactions, fiduciary duties, and
corporate governance matters. This breadth and depth of experience makes him the type of expert
Case 1:17-mc-00151-LPS Document 244 Filed 02/16/21 Page 6 of 7 PageID #: 7135

The Honorable Leonard P. Stark
February 16, 2021
Page 6



who will add value to the Court’s proceedings and ensure that any sale of the PDVH shares is
conducted consistent with industry standards and Delaware law.

Mr. Pincus would bring experience with petroleum-industry clients to the sale of assets whose
value will be based in part on the unique economics and other characteristics of the oil and gas
industry. For example, in the 1990s, Mr. Pincus defended Texaco—then in bankruptcy—in a
proxy contest with Carl Icahn and ultimately helped to develop a solution to Icahn’s objections.
In the 2000s, he represented USX—an amalgamation of U.S. Steel and Marathon Oil—through
the issuance of tracking stock for the two entities and their ultimate separation from one another.
Having some familiarity with issues that affect petroleum companies will allow Mr. Pincus to
quickly get up to speed and digest the complexities involved with a sale of the shares of PDVH.

In addition, any sale of the PDVH shares for the amount of Crystallex’s outstanding judgment may
be for a minority stake. Mr. Pincus has notable experience with acquisitions of minority interests
in large companies (e.g., his representation of DPx Holdings, Inc. in its acquisition of a minority
interest in Patheon Inc., and many other situations), which will enable him to successfully navigate
the complexities of valuing and selling a minority stake of PDVH. Understanding how to structure
a sale of a minority interest will assist the Court in ensuring that, consistent with Delaware law,
the value of the PDVH shares is maximized at any future sale.

Finally, as the Court is aware, selling shares of stock under 8 Del. C. § 324 to satisfy what is left
of a $1.2 billion judgment—a substantial share of which has already been paid—is unprecedented.
D.I. 101.1 at 12 (collecting precedent on Section 324 sales). Mr. Pincus recently served as a court-
appointed custodian overseeing a similarly unprecedented and challenging sale under Delaware
law when he ran the $770 million sale of TransPerfect Global, Inc. In the TransPerfect litigation,
the Delaware Court of Chancery ordered the sale of the company in such a way that it could remain
a going concern and appointed Mr. Pincus to run the sale. Mr. Pincus managed the sale from start
to finish, including hiring professionals to assist with the process, running an auction consistent
with Delaware law, and negotiating the sale order. Beyond the TransPerfect case, Mr. Pincus has
counseled companies through auctions throughout his career in private practice. For example, in
representing JLL Partners, Mr. Pincus has facilitated multiple auctions at the same time as part of
larger deals that combined smaller companies sold at auction into a single package for subsequent
acquisition.

Mr. Pincus is available to serve as a special master in this case and has a rate of $950/hour. This
rate is reasonable given Mr. Pincus’s experience and the size and complexity of the contemplated
transaction. We are not aware of any conflicts with the parties, intervenors, and non-parties who
have appeared in this action. Mr. Pincus’s resume is attached as Exhibit C to this letter.

Supplemental Position of the Republic, PDVSA, PDVH, and CITGO

On February 12, 2021, the Republic, PDVSA, PDVH, and CITGO filed Notices of Appeal of the
Court’s January 14 Order, D.I. 239, 240, 241, and jointly filed a motion to stay the sale proceedings
Case 1:17-mc-00151-LPS Document 244 Filed 02/16/21 Page 7 of 7 PageID #: 7136

The Honorable Leonard P. Stark
February 16, 2021
Page 7



in the District Court pending the appeal, D.I. 242, 243. Thus, the special master proposals in this
letter are made subject to the appeal and the motion to stay. Assuming the sale process goes
forward, as Crystallex has been repeatedly advised, the Republic, PDVSA, PDVH, and CITGO
will do everything they can to support the special master and a reasonable sale process. Indeed, it
is in their best interest to do so. Although rates for Messrs. Pincus and Schulte have been proposed,
payment for financial and legal advisors to the special master must still be determined. During the
meet and confer process, PDVH and CITGO raised with Crystallex that its $1 million advancement
offer would likely be insufficient, that PDVH and CITGO were discussing how and to what extent
they would contribute, and that the parties should meet and confer to further address payment of
the special master. PDVH and CITGO are willing to consider advancing at least a portion of these
fees in order to ensure the most professional sales process and to maximize the value of the sale
of PDVH shares, and request that the parties continue to meet and confer, on a schedule ordered
by the Court, over payment of the special master and the special master’s advisors, including
allocation of the advancements amongst the interested parties.

                                          *      *       *

Counsel are available if the Court has any questions.

                                                      Respectfully submitted,

                                                      /s/ Travis S. Hunter

                                                      Travis S. Hunter (#5350)


cc: All Counsel of Record (via ECF)
